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16
                                   UNITED STATES DISTRICT COURT
17                               NORTHERN DISTRICT OF CALIFORNIA
18                                                     CASE NO. 3:20-cv-05671-JD
19    EPIC GAMES, INC.,
                                                       DECLARATION OF PEGGY J.
20                          Plaintiff,                 WEDGWORTH IN SUPPORT OF
           v.                                          ADMINISTRATIVE MOTION TO
21                                                     CONSIDER WHETHER CASES
      GOOGLE LLC; GOOGLE IRELAND                       SHOULD BE RELATED PURSUANT TO
22    LIMITED; GOOGLE COMMERCE LIMITED;                CIVIL L.R. 3-12
23    GOOGLE ASIA PACIFIC PTE. LIMITED; and
      GOOGLE PAYMENT CORP.,
24
                            Defendants.
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                               DECLARATION OF PEGGY J. WEDGWORTH
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 1           I, PEGGY J. WEDGWORTH, ESQ., pursuant to 28 U.S.C. § 1746, hereby declare:

 2           1.       I am a partner at Milberg Phillips Grossman LLP, and I represent Plaintiffs Dianne

 3   Bentley, Jennifer Grace, Adam Moya, Coresa Trimble, and Robert Wing (collectively, “Plaintiffs”). I

 4   respectfully submit this declaration in support of Plaintiffs’ Administrative Motion to Consider Whether

 5   Cases Should Be Related pursuant to Civil L.R. 3-12.

 6           2.       I have personal knowledge of the matters set forth herein and could and would testify

 7   competently thereto if called upon to do so.

 8           3.       Attached hereto as Exhibit A is a true and correct copy of the complaint in Epic Games,

 9   Inc. v. Google LLC et al., No. 3:20-cv-05671-JD (N.D. Cal., filed Aug. 13, 2020) (“Epic”).

10           4.       Attached hereto as Exhibit B is a true and correct copy of the complaint in Pure Sweat

11   Basketball Inc., v. Google LLC et al., No. 3:20-cv-05792-JD (N.D. Cal., filed Aug. 17, 2020).

12           5.       Attached hereto as Exhibit C is a true and correct copy of the complaint in Carr v. Google

13   LLC et al., Case No. 5:20-cv-05761-JD (N.D. Cal., filed Aug. 16, 2020).

14           6.       Attached hereto as Exhibit D is a true and correct copy of the complaint in Peekya Services

15   Inc. v. Google LLC et al., No. 3:20-cv-06772-JD (N.D. Cal., filed Sept. 29, 2020).

16           7.       Attached hereto as Exhibit E is a true and correct copy of the complaint in Bentley et al.

17   v. Google LLC et al., No. 5:20-cv-07079 (N.D. Cal., filed Oct. 9, 2020), which Plaintiffs assert should

18   be related to the first-filed related action, Epic.

19           I declare under the penalty of perjury under the laws of the United States that the foregoing is true

20   and correct.

21           Executed in Birmingham, Alabama, this 13th day of October, 2020.

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                                                            /s/ Peggy J. Wedgworth
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                                                            Peggy J. Wedgworth
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                                  DECLARATION OF PEGGY J. WEDGWORTH
